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8                           UNITED STATES DISTRICT COURT
9                          CENTRAL DISTRICT OF CALIFORNIA
10   JAMES S. EVANS, on behalf of               Case No. 2:17-CV-07641-AB (KKx)
     himself, all others similarly situated,
11
12                       Plaintiff,
                                                ORDER GRANTING MOTION FOR
13   v.                                         PRELIMINARY APPROVAL OF
                                                CLASS ACTION AND DENYING AS
14                                              MOOT MOTION FOR
     WAL-MART STORES, INC., a                   RECONSIDERATION
15   Delaware corporation; and DOES 1
16   through 50, inclusive,
17                       Defendants.
18
19         Before the Court is Plaintiff James S. Evans’ Renewed Motion for Preliminary
20   Approval of Class Action Settlement, (see “Mot.,” ECF No. 258), and Defendant
21   Walmart Inc. f/k/a Wal-Mart Stores, Inc.’s Motion for Reconsideration of the Court’s
22   Order Denying Preliminary Approval of Class Action Settlement, (see ECF No. 255).
23   Plaintiff does not oppose Defendant’s Motion for Reconsideration, and Defendant
24   does not oppose Plaintiff’s Renewed Motion for Preliminary Approval. After reading
25   and considering the arguments presented by the parties, the Court finds these matters
26   appropriate for resolution without further hearings. See Fed. R. Civ. P. 78; C.D. Cal.
27   L.R. 7-15. For the reasons stated below, the Court GRANTS the Renewed Motion
28   for Preliminary Approval and DENIES as moot the Motion for Reconsideration.
                                          1.
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1        I.   INTRODUCTION
2             The Court has previously detailed the factual and procedural background of this
3    matter in its orders. For purposes of this Renewed Motion, the Court will summarize
4    the relevant facts only.
5                A. Factual Background and Procedural History
6             On September 13, 2017, Plaintiff filed the instant putative class action in the
7    Superior Court of the State of California for the County of Los Angeles asserting: (1)
8    failure to provide hourly wages in violation of California Labor Code §§ 223, 510,
9    1194, 1197, 1997.1, and 1198; (2) failure to pay vacation or holiday pay in violation
10   of Labor Code § 227.3; (3) failure to provide accurate written wage statements in
11   violation of Labor Code § 226; (4) failure to timely pay all final wages in violation of
12   Labor Code §§ 201-203; and (5) unfair competition in violation of Business and
13   Professions Code §§ 17200, et seq. (See Declaration of Shaun Setareh (“Setareh
14   Decl.”) ¶ 4, ECF No. 258-1; see also Compl., ECF No. 1-1.)
15            On October 18, 2017, Defendant removed the action to federal court pursuant to
16   the Class Action Fairness Act of 2005 (“CAFA”). (See Setareh Decl. ¶ 5; see also
17   Notice of Removal, ECF No. 1.)
18            On November 20, 2017, Plaintiff filed the First Amended Complaint, the
19   operative complaint, which added Keineisha Smith1 as a class representative and
20   asserted the following additional causes of action: (1) failure to provide meal periods
21   in violation of Labor Code §§ 204, 223 226.7, 512, 1198; (2) failure to provide rest
22   periods in violation of Labor Code §§ 204, 223, 226.7, and 1198; and (3) civil
23   penalties under the Private Attorneys General Act of 2004 (“PAGA”). (See Setareh
24   Decl. ¶ 6; see also First Am. Compl., ECF No. 12.)
25            Thereafter, Plaintiff filed a motion for class certification. (See Mot. for Class
26
     1
27    On November 14, 2019, the parties stipulated to dismiss Ms. Smith from this action without
     prejudice. (See ECF No. 92.)
28
                                                   2.
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1    Certification, ECF No. 49.) On November 25, 2019, the Court certified the Wage
2    Statement Class, which consisted of all persons employed as hourly-paid employees
3    by Defendant in any store in California at any time during the period beginning one
4    year before the filing of the action through the present. (See ECF No. 95.) The Wage
5    Statement Class was “based on Defendant’s purported failure to provide employees
6    with the opportunity to receive paper wage statements.” (Id.) The Court also certified
7    the Regular Rate Class, however, the underlying causes of action for this class were
8    dismissed on summary judgment in September 2020. (See ECF No. 181.)
9           On January 13, 2020, the Court subsequently ordered that the Notice
10   Administrator provide notice to the members of the certified Wage Statement Class.
11   (See ECF No. 101.) A total of 200,787 notices were mailed, and of the total notices
12   mailed, 2,557 notices were returned, 29 notices were forwarded, and 127 opt-out
13   requests were received. (See Setareh Decl. ¶ 14.)
14          Thereafter, at the eve of trial, Plaintiff and Defendant reached a non-
15   reversionary settlement agreement through arms-length negotiations. (See Setareh
16   Decl. ¶¶ 19-22.) The parties had commenced settlement discussions during a private
17   mediation conducted by Michelle Yoshida of Philips ADR and continued these
18   discussions until the morning of the Final Pre-Trial Conference on April 30, 2021
19   when the parties ultimately reached a Settlement Agreement. (Id.)
20          On September 3, 2021, Plaintiff filed his initial Motion for Preliminary
21   Approval, and the Court heard oral argument on December 3, 2021.2 (See ECF Nos.
22   252, 254.) On March 21, 2022, the Court issued its ruling denying the motion for
23   preliminary approval on the grounds that the class action release in the Settlement
24   Agreement did not comport with Amaro v. Anaheim Arena Management, LLC, 69 Cal.
25
26   2
      On October 15, 2021, Ana Anguiano-Tamayo filed a Motion to Intervene and Object to Approval
27   of the Settlement. (See ECF No. 241.) The Court heard oral argument on December 3, 2021. (See
     ECF No. 254.) On March 18, 2022, the Court issued an order denying the Motion to Intervene. (See
28   ECF No. 253.)
                                                  3.
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1    App. 5th 521 (2021). (See ECF No. 254.)
2           On April 4, 2022, Defendant filed an unopposed Motion for Reconsideration
3    regarding the Court’s March 21, 2022 Order. (See ECF No. 255.) On May 6, 2022,
4    the Court heard oral argument regarding the unopposed Motion for Reconsideration,
5    and thereafter issued an Order directing the parties to file a renewed Motion for
6    Preliminary Approval no later than June 3, 2022. (See ECF Nos. 256, 257.)
7           On June 1, 2022, Plaintiff filed the instant Renewed Motion for Preliminary
8    Approval, which included an Amended Settlement Agreement with a class release that
9    is consistent with Amaro. (See Mot. at 1:13-16.)
10              B. Amended Settlement Agreement
11          The parties agreed to settle the wage statement claim only on a class-wide basis
12   for $35 million ($35,000,000.00). (See Setareh Decl. ¶ 24, Ex. 23 at ¶ 5.1.) The
13   Amended Settlement Agreement defines the Settlement Class as “all Walmart
14   Associates who worked in a non-exempt position at a Walmart Retail Location in
15   California during the period of one year prior to the filing of Plaintiff’s suit through
16   preliminary approval of this matter” excluding Judge Birotte and any of his relatives.4
17   (Id. at ¶ 2.34.) A Walmart Retail Location is defined as Defendant’s stores,
18   supercenters, and neighborhood markets. (Id. at ¶ 2.44.) The Amended Settlement
19   Agreement defines Releasing Settlement Class Members as “the Settlement Class
20
21
     3
       The Court cites to Exhibit 2 of Mr. Setareh’s Declaration, which is the redline version of the
22   Amended Settlement Agreement, because Exhibit 1 of Mr. Setareh’s Declaration is the Settlement
23   Agreement that does not include the redlines that are discussed in the Renewed Motion nor included
     in the Long Form Notice of Class Settlement. The Court will assume this was a clerical oversight by
24   Plaintiff, but the parties must submit the signed, non-redline Amended Settlement Agreement with
     their Motion for Final Approval of Class Settlement.
25   4
       For purposes of this Preliminary Approval Order, the Court adopts and incorporates by reference
     the definitions in the Amended Settlement Agreement, and all capitalized terms used herein, unless
26
     otherwise defined, shall have the same meanings as ascribed to them in the Amended Settlement
27   Agreement. All time periods set forth in the Preliminary Approval Order will be computed in
     calendar days and pursuant to the terms of Rule 6(a) of the Federal Rules of Civil Procedure, unless
28   otherwise explicitly specified.
                                                    4.
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1    Representative and all Settlement Class Members, other than those who submit timely
2    and valid Requests to Opt Out.” (Id. at ¶ 2.30.)
3           Section 12.1 of the Amended Settlement Agreement states that the Releasing
4    Settlement Class Members agree to a release the following claims against Defendant
5    in exchange for the benefits enumerated in the Amended Settlement Agreement:
6           Subject to final approval by the Court of the Settlement, and for good and
7           valuable consideration set forth herein, the receipt and sufficiency of
            which is hereby acknowledged, all Releasing Settlement Class Members
8           do hereby irrevocably release, acquit, and forever discharge all of the
9           Releasees of and from any and all actual or potential claims, rights,
            demands, charges, complaints, causes of action, obligations, damages,
10          penalties, debts, costs and expenses (other than those payments, costs,
11          and expenses required to be paid pursuant to this Agreement), liens, or
            liabilities of any and every kind, that reasonably arise out of the same set
12          of operative facts plead in the Complaint or First Amended Complaint in
13          the Lawsuit, with respect to claims that Walmart violated Section 226 of
            the Labor Code, whether known or unknown, whether such allegations
14
            were or could have been based on common law or equity, or on any
15          statute, rule, regulation, order, or law, whether federal, state, or local and
            whether for damages, wages, penalties or injunctive or any other kind of
16
            relief (“the Released Claims”).
17
18   (Id. at ¶ 12.1.)

19          The $35 million settlement is based upon approximately 25% of the total

20   potential recovery of the wage statement claim (i.e., $554,676,8005) after Plaintiff

21   applied two 50% discounts. (See Mot. at 31:10-14; see also Setareh Decl. ¶¶ 39-42.)

22   The 50% discounts were applied because of several risks that are inherent in the

23   continued litigation of this matter. (Id.)

24          The settlement amount for each Settlement Class Member is calculated based

25   on the total number of pay periods each Settlement Class Member worked during the

26
27   5
       This is an extrapolation based on the data previously provided adjusting for an increase in the class
28   size to 265,000. (See Mot. at 3:27-28.)
                                                      5.
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1    class period. (See Mot. at 16:16-26.) However, if a Settlement Class Member’s wage
2    statements were always furnished as a detachable part of a paper check, their
3    settlement amounts will be proportionally lower than the settlement amounts for
4    Settlement Class Members who did not receive all of their wage statements as a
5    detachable part of a paper check. (Id. at 11:27-12:3.) The average Settlement Share is
6    estimated to be $83.61 before taxes. (See Setareh Decl. ¶ 44.) The amount paid to
7    each Settlement Class Member will be allocated entirely as penalties, and no
8    withholdings will be made. (See id. at ¶ 24.)
9          In addition, $500,000.00 of the Class Settlement Amount will be allocated for
10   the civil penalties under PAGA, with 75% of that amount (i.e., $375,000.00) being
11   paid to the Labor and Workforce Development Agency, and the remaining 25% (i.e.,
12   $125,000.00) being included as part of the Net Settlement Amount for distribution to
13   the Settlement Class Members. (See Setareh Decl. ¶ 24, Ex. 2 at ¶ 5.2.4.)
14         Pursuant to the Amended Settlement Agreement, settlement checks that are
15   uncashed after ninety (90) days from the date the check is mailed and after the
16   Settlement Administrator sends a reminder postcard to the Settlement Class Member
17   will be paid to State of California Unclaimed Property Fund in the name of the
18   Settlement Class Member. (See id. at ¶ 24, Ex. 2 at ¶¶ 10.3-10.4.) None of the Class
19   Settlement Amount will revert to Defendant. (See Mot. at 32:15-16.)
20         Plaintiff requests a $20,000.00 Service Payment to be paid out of the Class
21   Settlement Amount for the approximately 75 hours spent in connection with this case.
22   (See Declaration of James S. Evans (“Evans Decl.), ¶¶ 7-8, ECF No. 258.) Class
23   Counsel intends to seek up to one-third of the Settlement Fund (i.e., $11,666,666.66)
24   in attorneys’ fees, and a reimbursement of $250,000.00 for out-of-pocket costs
25   incurred in the action. (See Setareh Decl. ¶ 30.) The estimated amount of costs for
26   the settlement and notice administration are approximately $535,475.00. (Id. at ¶ 36.)
27   II.   LEGAL STANDARD
28         Federal Rule of Civil Procedure (“Rule”) 23 requires that class action
                                             6.
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1
     settlements satisfy two primary prerequisites before a court may grant preliminary
2
     approval: (1) that the settlement class meets the requirements for class certification if
3
     it has not yet been certified; and (2) that the proposed settlement is “fair, adequate,
4
     and reasonable.” Hanlon v. Chrysler Corp., 150 F.3d 1011, 1020, 1026 (9th Cir.
5
     1988), overruled on other grounds by Wal-Mart Stores, Inc. v. Dukes, 564 U.S. 338
6
     (2011); see Fed. R. Civ. P. 23(a), (e)(2).
7
           As a threshold for class certification, the proposed class must satisfy four
8
     prerequisites under Rule 23(a). First, the class must be so numerous that joinder of all
9
     members individually is impracticable. Fed. R. Civ. P. 23(a)(1). Second, there must
10
     be questions of law or fact common to the class. Fed. R. Civ. P. 23(a)(2). Third, the
11
     claims or defenses of the class representative must be typical of the claims or defenses
12
     of the class as a whole. Fed. R. Civ. P. 23(a)(3). Finally, the proposed class
13
     representatives and proposed class counsel must be able to protect the interests of all
14
     members of the class fairly and adequately. Fed. R. Civ. P. 23(a)(4).
15
           If all four prerequisites of Rule 23(a) are satisfied, a court must then determine
16
     whether to certify the class under one of the three subsections of Rule 23(b). Under
17
     Rule 23(b), the proposed class must establish that: (1) there is a risk of substantial
18
     prejudice from separate actions; (2) declaratory or injunctive relief benefitting the
19
     class as a whole would be appropriate; or (3) common questions of law or fact
20
     predominate such that a class action is superior to other methods available for
21
     adjudicating the controversy at issue. Fed. R. Civ. P. 23(b).
22
           In analyzing whether the proposed class meets the requirements for
23
     certification, a court must take the substantive allegations of the complaint as true and
24
     may consider extrinsic evidence submitted by the parties. See Blackie v. Barrack, 524
25
     F.2d 891, 901 (9th Cir. 1975).
26
           Finally, upon a finding that the requirements of Rule 23(a) and 23(b) are
27
     satisfied, the Court must ensure that the proposed settlement is “fair, reasonable, and
28
                                                  7.
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1
     adequate” under Rule 23(e). Fed. R. Civ. P. 23(e)(2). The Ninth Circuit has provided
2
     a non-exhaustive list of fairness factors. See Officers for Just. v. Civ. Serv. Comm'n of
3
     City & Cnty. of S.F., 688 F.2d 615, 625 (9th Cir. 1982). Courts evaluate the
4
     settlement as a whole, rather than its individual parts, to determine its overall fairness.
5
     Id. Courts must also consider the adequacy of the proposed settlement notice. Id. at
6
     1025; see also Fed. R. Civ. P. 23(e).
7
     III.   DISCUSSION
8
               A. Class Certification
9
            On November 25, 2019, the Court certified the Wage Statement Class in the
10
     instant matter pursuant to Rule 23(a) and (b). (See ECF No. 95.) Thereafter, the
11
     Court denied Defendant’s Motion for Decertification on September 14, 2020. (See
12
     ECF No. 182.) Accordingly, because the certified Wage Statement Class has not
13
     changed, the Court reconfirms its order certifying the Wage Statement Class. See e.g.,
14
     Harris v. Vector Marketing, No. C–08–5198, 2012 WL 381202 at *3 (N.D. Cal. Feb.
15
     6, 2012) (“As a preliminary matter, the Court notes that it previously certified . . . a
16
     Rule 23(b)(3) class . . . [and thus] need not analyze whether the requirements for
17
     certification have been met and may focus instead on whether the proposed settlement
18
     is fair, adequate, and reasonable.”); In re Apollo Group Inc. Securities Litigation, Nos.
19
     CV 04–2147–PHX–JAT, CV 04–2204–PHX–JAT, CV 04–2334–PHX–JAT, 2012
20
     WL 1378677 at *4 (D. Ariz. Apr. 20, 2012).
21
               B. Fairness of Settlement Agreement
22
            For preliminary approval of a class settlement, the Court determines whether
23
     the proposed settlement is “fair, reasonable, and adequate.” Fed. R. Civ. P. 23(e)(2).
24
     To determine whether a settlement agreement meets the above standards, a district
25
     court may consider some, or all, of the following factors:
26               (1) the strength of the plaintiff’s case; (2) the risk, expense,
27               complexity, and likely duration of further litigation; (3) the
                 risk of maintaining class action status throughout the trial;
28
                                                8.
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1                 (4) the amount offered in settlement; (5) the extent of
2                 discovery completed and the stage of the proceedings; (6)
                  the experience and views of counsel; (7) the presence of a
3                 governmental participant; and (8) the reaction of the class
4                 members of the proposed settlement.

5    In re Bluetooth Headset Prods. Liab. Litig., 654 F.3d 935, 946 (9th Cir. 2011)

6    (quoting Churchill Vill., LLC v. Gen. Elec., 361 F.3d 566, 575 (9th Cir. 2004)); see

7    Officers for Just., 688 F.2d at 625 (noting that the list of factors is “by no means an

8    exhaustive list of relevant considerations”).

9          It appears to the Court on a preliminary basis that the Amended Settlement

10   Agreement is fair, adequate, and reasonable when considering that it provides Class

11   Members with a definite recovery and is in proportion to the strengths and challenges

12   associated with (1) achieving and maintaining certification on the claims, and (2)

13   establishing liability for all claims. Specifically, the Court recognizes the significant

14   value of the monetary recovery provided to Class Members and finds that such

15   recovery is fair, adequate, and reasonable when balanced against further litigation

16   related to liability and damages issues.

17         It further appears to the Court at this time that: (1) extensive and costly

18   investigation, formal and informal discovery, research and litigation have been

19   conducted such that Class Counsel and Defense Counsel are able to reasonably

20   evaluate their respective positions; (2) the Amended Settlement Agreement will avoid

21   substantial additional costs by all parties, and avoid the risks and delay inherent to

22   further prosecution of this action; (3) the Amended Settlement Agreement has been

23   reached as the result of intensive, serious and non-collusive, arms-length negotiations,

24   which commenced during a private mediation conducted by Michelle Yoshida of

25   Philips ADR and continued until the morning of the Final Pre-Trial Conference on

26   April 30, 2021. (See Mot. at 10:6-9; 10:25-11:3.) The Court observes that the

27   Amended Settlement Agreement was reached after considerable investigation—

28   including the depositions of Plaintiff, Defendant’s Person Most Knowledge, and the
                                                9.
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 1   parties’ retained experts, as well as the analysis of Defendant’s employment policies,
 2   time-keeping policies, and payroll records. (See Mot. at 3:13-4:23; 7:13-8:10.)
 3   Accordingly, the Amended Settlement Agreement reflects the strengths and
 4   vulnerabilities of Plaintiff’s case, the risks of class certification, and the risks of
 5   proceeding on the merits of the claims. When taking these risks into account, at this
 6   juncture, the Court finds that the Amended Settlement Agreement is in the best
 7   interests of the Class.
 8          Accordingly, the Court finds on a preliminary basis that the Amended
 9   Settlement Agreement appears to be within the range of reasonableness of a settlement
10   that could ultimately be given final approval by this Court. Under the Amended
11   Settlement Agreement, Defendant will pay $35,000,000.00 to fully and finally settle
12   this matter. This total settlement payment of $35,000,000.00 is non-reversionary and
13   this amount falls within the range of similar settlements. As such, the Court
14   GRANTS Plaintiff’s Unopposed Renewed Motion for Preliminary Approval of Class
15   Action Settlement pursuant to Rule 23(e). The Court has broad discretion to grant
16   preliminary approval of class action settlement under the circumstances here, where it
17   is “fair, adequate, reasonable, and not a product of collusion.” Hanlon v. Chrysler
18   Corp., 150 F.3d 1101, 1026 (9th Cir. 1998).
19          Should, for whatever reason, the Amended Settlement Agreement not become
20   final, the Amended Settlement Agreement shall be deemed null and void, and the
21   parties to the Amended Settlement Agreement shall be deemed to have reverted to
22   their respective status as of the date and time immediately prior to the execution of the
23   Amended Settlement Agreement.
24          For settlement purposes only, and pursuant to Rule 23(g), the Court hereby
25   appoints: (1) Plaintiff James S. Evans as the Class Representative; (2) Shaun Setareh
26   and William M. Pao of Setareh Law Group and Stanley D. Saltzman of Marlin &
27   Saltzman LLP as Class Counsel; and (3) the Phoenix Settlement Administrator as the
28   Settlement Administrator to administer the settlement of this matter, as more
                                             10.
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 1   specifically set forth in the Amended Settlement Agreement.
 2         The Court approves, as to form and content, the proposed Postcard Notice of
 3   Class Action Settlement (attached as Exhibit A to the Declaration of Class Counsel)
 4   and, the Long Form Notice of Class Action Settlement (attached as Exhibit B to the
 5   Declaration of Class Counsel) (collectively referred to as the “Notices of Class Action
 6   Settlement”).
 7         The Court finds that the Notices of Class Action Settlement fairly and
 8   adequately advise Class Members of the terms of the Amended Settlement Agreement
 9   and the benefits available to Class Members thereunder. The Court further finds that
10   the Notices of Class Action Settlement advise of the pendency of the Action, of the
11   Amended Settlement Agreement, of Class Members’ right to receive their share of the
12   Settlement, of the scope and effect of the Amended Settlement Agreement’s Released
13   Claims, of Class Members’ rights and obligations relating to the prospective relief
14   provided through the Settlement, of the preliminary Court approval of the proposed
15   Settlement, of the exclusion and objection timing and procedures, of the date of the
16   Final Approval Hearing, and of the right to file documentation in opposition to the
17   Settlement Agreement and to appear in connection with the Final Approval Hearing.
18   Thus, the Court finds that the Notices of Class Action Settlement clearly comport with
19   all constitutional requirements, including those of due process, and the requirements
20   of Rule 23(c)(2). The Court further finds that the mailing of the Postcard Notice of
21   Class Action Settlement to the last known address of Class Members and the
22   publishing of the Long Form Notice of Class Action Settlement on a website (the
23   “Settlement Website”) dedicated to the administration of the Settlement identified in
24   the Postcard Notice, as specifically described within the Amended Settlement
25   Agreement, with measures taken for verification of addresses, as set forth therein,
26   constitutes an effective method of notifying Class Members of their rights with respect
27   to the Action and this Amended Settlement Agreement.
28         Within thirty (30) calendar days after the entry of this Preliminary Approval
                                             11.
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 1   Order, Defendant will provide (at no cost to the Settlement Fund, Settlement Class
 2   Counsel, or the Settlement Administrator) to the Settlement Administrator the
 3   Settlement Class List in electronic form or such other form as is reasonably available
 4   to Defendant.
 5         No later than twenty (20) days of receipt of the Settlement Class List, the
 6   Settlement Administrator shall cause a copy of the Postcard Notice, substantially in
 7   the form annexed hereto as Exhibit A, to be mailed by first-class mail, postage pre-
 8   paid, to all members of the Settlement Class at the address of each such person as set
 9   forth in the records maintained by Defendant, or who otherwise can be identified
10   through reasonable effort.
11         No later than the date on which the Postcard Notice is mailed to all members of
12   the Settlement Class, the Long Form Notice, substantially in the form annexed hereto
13   as Exhibit B, shall be published on the Settlement Website. The Amended Settlement
14   Agreement, this Order, and all other pertinent information and documents shall also be
15   placed on the Settlement Website. In addition, a toll-free telephone number, email
16   and physical mailing address will be made available for Settlement Class Members to
17   contact the Settlement Administrator or Class Counsel directly.
18         Settlement Class Members have forty-five (45) days from the date of the
19   Postcard Notice of Class Action Settlement being mailed to file an objection to the
20   Settlement Agreement. To object, a Settlement Class Member must send to the
21   Settlement Administrator a written objection, which is signed and dated, that includes
22   the following: (1) an indication that they wish to object to the Settlement (or similar
23   language); (2) the basis for the objection; (3) the Settlement Class Member’s name,
24   address, the location and dates of their employment with Defendant; (4) and notice of
25   any intent to appear at the Final Approval Hearing. The written objection must be
26   postmarked or otherwise received by the Settlement Administrator on or before the
27   deadline.
28         Furthermore, Settlement Class Members have forty-five (45) days from the
                                           12.
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 1   date of the Postcard Notice of Class Action Settlement being mailed to opt out or be
 2   excluded from the Settlement. To opt out, a Settlement Class Member must submit a
 3   written request, which is signed and dated, to the Settlement Administrator stating that
 4   they wish to be excluded from the Settlement (or similar language) and contain the
 5   Settlement Class Member’s name, address, and the location and dates of their
 6   employment with Defendant.
 7         The Final Approval Hearing shall be held on December 2, 2022 at 10:00 a.m.,
 8   in the United States District Court, Central District of California, Courtroom 7B,
 9   located at 350 W. 1st Street, Los Angeles, California, 90012, to consider the fairness,
10   adequacy, and reasonableness of the Amended Settlement Agreement and Class
11   Counsel’s requests for: (a) PAGA penalties; (b) Class Representatives’ Enhancement
12   Payments; (c) the Class Counsel Fees Award; (d) the reimbursement of Litigation
13   Expenses; and (e) Settlement Administrator Costs. All briefs and materials in support
14   of the Final Approval Order and the Motion for Class Representative Payments and
15   Class Counsel Fees and Expenses shall be filed with this Court thirty-five (35) days
16   before the Final Approval Hearing.
17         Pending further orders of this Court, all proceedings in this matter, except those
18   contemplated in this Preliminary Approval Order and in the Amended Settlement
19   Agreement, are hereby STAYED. To the extent permitted by law, pending final
20   determination as to whether the Amended Settlement Agreement should be approved,
21   the Court hereby ORDERS that the Class Representative and all Class Members,
22   whether directly, representatively, or in any other capacity, shall not prosecute any
23   claims or actions against Releasees that would be released by the Released Claims if
24   final approval of the Amended Settlement Agreement is granted.
25         The Court expressly reserves the right to adjourn or continue the Final
26   Approval Hearing from time to time without further notice to Class Members.
27         This Order, which conditionally certifies a class action for settlement purposes
28   only, shall not be cited in this or any matter for the purpose of seeking class
                                                13.
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 1   certification, opposing decertification, or for any other purpose, other than enforcing
 2   the terms of the Amended Settlement Agreement.
 3         If the Court grants Final Approval, each Settlement Class Member and their
 4   successors shall conclusively be deemed to have released the Released Claims as set
 5   forth in the Amended Settlement Agreement and Notices of Class Action Settlement,
 6   against Releasees (as defined in the Amended Settlement Agreement), and all such
 7   Settlement Class Members and their successors shall be permanently enjoined and
 8   forever barred from asserting any Released Claims against Releasees.
 9   IV.   CONCLUSION
10         For the foregoing reasons, the Court hereby ORDERS that:
11
12             1. The Unopposed Renewed Motion for Preliminary Approval of
                  Class Settlement is GRANTED.
13
14             2. The Court APPROVES the establishment of the Qualified
                  Settlement Fund in accordance with the terms of the Amended
15                Settlement Agreement.
16
               3. A Final Approval Hearing will be held on December 2, 2022 at
17                10:00 a.m., in the United States District Court, Central District of
18                California, Courtroom 7B, located at 350 W. 1st Street, Los
                  Angeles, California, 90012.
19
20             4. Any member of the Settlement Class may appear at the Final
21                Approval Hearing and show cause why the proposed settlement
                  as embodied in the Settlement should or should not be approved
22                as fair, reasonable, adequate, and in the best interests of the Class,
23                or why the Judgment should or should not be entered thereon,
                  and/or to present opposition to the distribution of the settlement
24                fund or to the application of Settlement Class Counsel for
25                Attorneys’ Fees and reimbursement of Litigation Expenses.
                  However, no Settlement Class Member or any other person shall
26                be heard or entitled to contest the approval of the terms and
27                conditions of the Settlement, or, if approved, the Judgment to be
                  entered thereon approving the same, or the terms of the
28
                                               14.
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 1               distribution of the settlement fund or the application by
 2               Settlement Class Counsel for an award of attorneys’ fees and
                 reimbursement of Litigation Expenses, unless that Settlement
 3               Class Member has served written objections, by hand, first-class
 4               mail postage pre-paid or electronic mail no later than the deadline
                 for objections as set forth in the Notices of Class Action
 5               Settlement.
 6
              5. Defendant’s Motion for Reconsideration is DENIED as moot.
 7
 8         IT IS SO ORDERED.

 9
10   Dated: June 30, 2022

11                                 _______________________________________
                                   HONORABLE ANDRÉ BIROTTE JR.
12                                 UNITED STATES DISTRICT COURT JUDGE
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